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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                       *
                                               *
                                               *
V.                                             *
                                               *              NO: 4:13CR00131-03 SWW
JAMES P. WESTLAKE                              *
                                               *
                                               *


                                             ORDER

       Now before the Court is a motion by defendant James P. Westlake ( Westlake )1 for

severance (ECF No. 36). The United States has responded in opposition (ECF No. 41), and the

matter is ready for decision. After careful consideration, and for reasons that follow, the motion

is denied without prejudice to renew.

       When a defendant moves for severance, a district court must first determine whether

joinder is proper under Federal Rule of Criminal Procedure 8, which permits joinder of two or

more defendants if they are alleged to have participated in the same act or in the same series of

acts, constituting an offense. In this case, Westlake and his co-defendants are charged with

participating in the same act and series of acts constituting theft of government property.

Accordingly, the Court finds that defendants are properly joined.

       Even when joinder is proper, Federal Rule of Criminal Procedure 14(a) provides that a

court may order severance of defendants or other appropriate relief if it appears that the



       1
        All references to defendant Westlake in this order identify James P. Westlake, not his
co-defendant Barbara L. Westlake.
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defendant seeking severance is prejudiced by joinder. Westlake argues that a joint trial in this

case is likely to prejudice him because the Government will offer inculpatory statements by his

co-defendants. Under Bruton v. United States, 391 U.S. 123, 88 S. Ct. 1620 (1968), a

defendant’s right to confront and cross examine witnesses against him is violated when a non-

testifying co-defendant’s statement, which inculpates the accused, is admitted into evidence

without sufficient safeguards.

       A jury trial in this case is scheduled to begin on November 17, 2014.2 At this early stage

in the case, it remains uncertain whether the charges against Westlake’s co-defendants will

proceed to trial, whether Westlake will have an opportunity to conduct cross examination, or

whether sufficient safeguards would prevent any Confrontation Clause violations and permit a

joint trial. Accordingly, the Court finds that the motion to sever is premature.

       IT IS THEREFORE ORDERED that Defendant James P. Westlake’s motion for

severance (ECF No. 36) is DENIED WITHOUT PREJUDICE TO RENEW.

       IT IS SO ORDERED THIS 8th DAY OF APRIL, 2014.

                                              /s/Susan Webber Wright
                                              UNITED STATES DISTRICT JUDGE




       2
        Westlake filed the present motion on March 4, 2014, when trial in this matter was
scheduled to begin on March 31, 2014. On March 5, 2014, the Court continued the trial date to
November 17, 2014.

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